                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                         Civil Action No.: ___________________


JOSEPH and CAROLE TURSO,                      )
                                              )
               Plaintiffs,                    )
                                              )                 COMPLAINT
vs.                                           )              (Jury Trial Demanded
                                              )
INSTALLS, LLC, BCB INSTALLERS,                )
LLC and ALLSTATE INSURANCE                    )
COMPANY,                                      )
                                              )
               Defendants.                    )


       Plaintiffs, Joseph and Carole Turso, by their attorneys, respectfully assert their claim

against the above-named defendants and allege as follows:

                                         THE PARTIES

       1.      Plaintiffs, Joseph and Carole Turso, (“the Tursos”) are residents of Mecklenburg

County, North Carolina who reside at 5516 Challis View Lane, Charlotte, NC (“the Tursos’

House”).

       2.      Defendant Installs Inc., LLC is a limited liability company incorporated in

Delaware with a principal place of business in a State other than North Carolina and at all relevant

times was in the business of installing consumer appliances. Its registered agent for service of

process is United Corporate Services located at 176 Mine Lake Court, Ste. 100, Raleigh NC,

27615-6417.

       3.      Defendant BCB Installers, LLC is a limited liability company registered to do

business in South Carolina and at all relevant times was in the business of installing consumer

appliances. BCB Installers, LLC is located at 2984 Starnes Dr., Rock Hill, SC 29730-7131 and




            Case 3:18-cv-00339-GCM Document 1 Filed 06/26/18 Page 1 of 5
whose registered agent for service of process is William Brooks located at 1 Howard St., Rock

Hill, South Carolina, 29730.

       4.      Defendant Allstate Insurance Company (“Allstate”) is an insurance company

authorized to issue insurance policies in North Carolina organized in State other than North

Carolina and with a principal place of business at 3075 Sanders Rd, Suite H1E Northbrook, IL

60062. Pursuant to the General Statutes of North Carolina, service of process may be made on the

Insurance Commissioner of North Carolina and at its principal place of business above.

       5.      Jurisdiction is based on diversity of citizenship pursuant to 28 U.S.C. § 1332 as the

Plaintiffs and the Defendants are diverse from one another and the amount in controversy exceeds

Seventy-Five Thousand Dollars ($75,000.00), exclusive of costs and interest. Venue is proper in

this Court as the causes of actions arose out of transaction that occurred in Mecklenburg County,

North Carolina.

                                  FACTUAL ALLEGATIONS

       6.      On or about December 22, 2015 the Tursos purchased various consumer appliances

from hhgregg including a wall oven. As part of the purchase price, hhgregg agreed to install the

wall oven at the Turso’s House.

       7.      hhgregg hired defendant Installs, who in turn hired defendant BCB Installers to

install the wall oven at the Turso’s House.

       8.      As a result of the improper installation of the wall oven, substantial damage was

caused to various components of the kitchen and the kitchen cabinets in the Turso’s House.

       9.      At all times relevant herein, Allstate insured BCB Installers during the time BCB

Installers performed the installation at the Turso’s House.




                                                 2

            Case 3:18-cv-00339-GCM Document 1 Filed 06/26/18 Page 2 of 5
                                          COUNT I
                                  BREACH OF CONTRACT
                                    (Plaintiffs v. Allstate)

       10.    Plaintiffs incorporate paragraphs 1-9 as if fully set forth here at length.

       11.    Allstate agreed with the Tursos to reimburse them the amount of the repair costs

based on an estimate prepared by the contractor chosen by Allstate. Attached here as Exhibit 1 is

the written confirmation of the agreement between Allstate and the Tursos.

       12.    The contractor chosen by Allstate, Emergency Restoration Xperts prepared an

estimate in the amount of $78,394.53 which was sent to Allstate so Allstate could reimburse the

Tursos for the amount of the estimate.

       13.    Allstate has not to complied with its agreement to reimburse the Tursos in

accordance with its agreement.

       14.    As a direct and proximate result of Allstate’s breach of contract, the plaintiffs

sustained substantial damages in excess of $75,000.00.

                                         COUNT II
                                 UNFAIR TRADE PRACTICES
                                    (Plaintiffs v. Allstate)

       15.    Plaintiffs incorporate paragraphs 1-9 as if fully set forth here at length.

       16.    Allstate as the BCB Installer’s liability insurer investigated the circumstances

surrounding the damage allegedly caused by its insured.

       17.    As a result of its investigation, Allstate knew of the nature, extent, and cause of the

damage suffered by the Tursos.

       18.    As a result of the dispute between Allstate and the Tursos regarding the extent of

the damages caused by its insured, BCB Installers, Allstate agreed to pay the amount of the

damages determined by a contractor chosen by Allstate.



                                                 3

         Case 3:18-cv-00339-GCM Document 1 Filed 06/26/18 Page 3 of 5
        19.     The contractor chosen by Allstate prepared an estimate of the damages suffered by

the Tursos and the estimate was sent to Allstate for payment.

        20.     Allstate has unfairly and in bad faith failed to comply with its agreement to pay the

Tursos the amount of the estimated damage determined by its chosen contractor.

        21.     The violations the laws of the State of North Carolina committed by Allstate

include, but are not limited to, N.C. Gen. § 58-63-15 (11), which constitute unfair and deceptive

trade practices in the State of North Carolina and also violate Chapter 75 of the North Carolina

General Statutes. These violations include but are not limited the following:

                a.      Failing to act fairly and honestly towards the Plaintiffs;

                b.      Failing to act in good faith to abide the agreement it entered into with the
                        Plaintiffs;

                c.      Making material misrepresentation to Plaintiffs for the purpose of and with
                        the intent of affecting a settlement on less favorable terms than those
                        commensurate with the damage sustained by the Plaintiffs; and

                d.      Failing to undertake the Plaintiffs’ claim with dispatch and due diligence in
                        achieving a proper resolution of the Plaintiffs’ claim.

        22.     Due to the acts and omissions of Allstate, which constitute unfair and deceptive

trade practices, Plaintiffs have been damaged by Allstate in an amount in excess of Seventy-Five

Thousand Dollars ($75,000.00), and further, Plaintiffs are entitled to recover treble damages from

Allstate pursuant to N.C. Gen. Stat. § 75-16, in an amount three (3) times the amount of the actual

loss, costs, and attorneys’ fees.

                                             COUNT III
                                          NEGLIGENCE
                            (Plaintiffs v. Installs and BCB Installers)

        23.     Plaintiffs incorporate paragraphs 1-9 as if fully set forth here at length.




                                                   4

          Case 3:18-cv-00339-GCM Document 1 Filed 06/26/18 Page 4 of 5
       24.     Defendants Installers LLC, and BCB Installers were, at all relevant times described

herein, acting as agents of each other and their acts or omissions were performed within the scope

of their respective agency on behalf of the other defendants on whose behalf they were acting.

       25.     Defendants and each of them, negligently performed the installation of the wall

oven in the following respects:

               a.      improperly removed the existing support for the new oven;

               b.      improperly installed the new oven by failing to provide adequate support;

               c.      failed to follow proper construction techniques in performing the work it
                       was tasked to do; and

               d.      negligence at law.

       26.     As a direct and proximate result of the defendants’ negligence as described above,

the plaintiffs sustained substantial damage to their kitchen requiring repairs that cost in excess of

Seventy-Five Thousand and no/100 Dollars ($75,000.00).

       WHEREFORE, Plaintiffs respectfully seek relief as follows:

       1.      Judgement in an amount in excess of $75,000.00 according to the proof at trial

along with interest and costs as permitted by law.

       2.      Trial by jury.

       3.      Any and all other relief to which Plaintiffs may be entitled.

       This 26th day of June, 2018.

                                              GOLDSTEIN LAW PLLC

                                              _____________________________________
                                              Jay M. Goldstein, Esquire
                                              NC Bar No.: 22721
                                              6805 Morrison Boulevard, Suite 470
                                              Charlotte, NC 28211
                                              Phone: 704-910-2680
                                              Email: jmgoldstein@jmgoldsteinlaw.com
                                              Counsel for Plaintiffs

                                                 5

            Case 3:18-cv-00339-GCM Document 1 Filed 06/26/18 Page 5 of 5
